                                                                                                Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 1 of 14



                                                                                      1   CHRISTENSEN JAMES & MARTIN
                                                                                          EVAN L. JAMES, ESQ. (7760)
                                                                                      2
                                                                                          DARYL E. MARTIN, ESQ. (6735)
                                                                                      3   7440 W. Sahara Avenue
                                                                                          Las Vegas, Nevada 89117
                                                                                      4   Telephone: (702) 255-1718
                                                                                          Facsimile: (702) 255-0871
                                                                                      5   Email: elj@cjmlv.com, dem@cjmlv.com
                                                                                      6   Attorneys for Defendants Nevada Service Employees
                                                                                          Union, Luisa Blue, and Martin Manteca
                                                                                      7
                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                      8
                                                                                                                                  DISTRICT OF NEVADA
                                                                                      9
                                                                                          JAVIER CABRERA, an individual; DEBORAH             Case No.: 2:18-cv-00304-RFB-DJA
                                    7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                                     10   MILLER, an individual, CHERIE MANCINI,
CHRISTENSEN JAMES & MARTIN, CHTD.




                                                                                          an individual; NEVADA SERVICE
                                         PH: (702) 255-1718 § FAX: (702) 255-0871




                                                                                     11
                                                                                          EMPLOYEES UNION STAFF UNION
                                                                                          (“NSEUSU”), an unincorporated association,         NOTICE OF RECENT EVENTS
                                                                                     12

                                                                                     13                             Plaintiffs,
                                                                                     14   vs.

                                                                                     15   SERVICE EMPLOYEES INTERNATIONAL
                                                                                          UNION, a nonprofit cooperative corporation;
                                                                                     16
                                                                                          LUISA BLUE, in her official capacity as Trustee
                                                                                     17   of Local 1107; MARTIN MANTECA, in his
                                                                                          official capacity as Deputy Trustee of Local
                                                                                     18   1107; MARY K. HENRY, in her official
                                                                                     19   capacity as Union President; CLARK COUNTY
                                                                                          PUBLIC EMPLOYEES ASSOCIATION dba
                                                                                     20   NEVADA SERVICE EMPLOYEES UNION
                                                                                          aka SEIU LOCAL 1107, a nonprofit cooperative
                                                                                     21
                                                                                          corporation; CAROL NIETERS, an individual;
                                                                                     22   DOES 1-20; and ROE CORPORATIONS 1-20,
                                                                                          inclusive,
                                                                                     23

                                                                                     24                             Defendants.

                                                                                     25          Nevada Service Employees Union (“Local 1107” or “1107”) hereby provides notice to the

                                                                                     26   Court of recent events.

                                                                                     27
        Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 2 of 14




 1         This Court’s Local Rules require attorneys to comply with “the Model Rules of Professional

 2   Conduct as adopted and amended from time to time by the Supreme Court of Nevada….” LR IA

 3   11-7. The Supreme Court of Nevada Rule of Professional Conduct 3.3, Candor Toward the

 4   Tribunal, and Model Rule of Professional Conduct 3.3 are consistent with one another.

 5         Courts interpret Rule 3.3 to require the disclosure of additional information to the Court

 6   where that information may affect the court’s decision. “It is appropriate to remind counsel that

 7   they have a ‘continuing duty to inform the Court of any development which may conceivably affect

 8   the outcome’ of the litigation.” Board of License Com'rs of Town of Tiverton v. Pastore, 105 S.Ct.

 9   685, 686, 469 U.S. 238, 240 (1985); quoting Fusari v. Steinberg, 419 U.S. 379, 391, 95 S.Ct. 533,

10   540, 42 L.Ed.2d 521 (1975) (BURGER, C.J., concurring). As one court has noted, “The [judicial]

11   system can provide no harbor for clever devices to divert the search, mislead opposing counsel or

12   the court, or cover up that which is necessary for justice in the end.” U.S. v. Shaffer Equipment

13   Co., 11 F.3d 450, 457–58 (4th Cir. 1993). With that background, Local 1107 submits the attached

14   Declaration of Grace Vergara-Mactal (“Grace”) containing information recently received from the

15   National Labor Relations Board (“NLRB”).

16          This notice and the attached information are appliable to the mootness of Mr. Cabrera’s

17   claims as argued in the following Motions set to be argued on March 12, 2021:

18         1. Service Employees International Union’s Motion for Summary Judgment, ECF No. 167;
19         2. Local 1107’s Motion for Summary Judgment, ECF No. 168; and
20         3. Plaintiffs’ Motion for Summary Judgment, ECF No. 172.
21         For further explanation to the Court and not to advance argument, Paragraph 8 of Grace’s
22   Declaration states that “Local 1107 continues to work within the NLRB’s compliance process and
23   intends to pay proper amounts to Mr. Cabrera that are factually and legally proper.” This means
24   that the NLRB’s calculations must be properly verified and be factually and legally proper. By way
25   of illustration, Mr. Cabrera has asked that the $28,935.00 in pension contributions be paid to him
26   directly. That money, however, most likely must be paid to the pension fund on Mr. Cabrera’s
27   behalf. Such issues will be evaluated and resolved through the NLRB’s compliance process.


                                                    -2-
     Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 3 of 14




 1     Dated March 11, 2021.                CHRISTENSEN JAMES & MARTIN

 2
                                            By:     /s/ Evan L. James
 3                                          Evan L. James, Esq.
                                            Nevada Bar No. 7760
 4                                          7440 W. Sahara Avenue
 5                                          Las Vegas, NV 89117
                                            Tel.: (702) 255-1718
 6                                          Fax: (702) 255-0871
                                            Attorneys for Local 1107
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          Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 4 of 14




 1                                   CERTIFICATE OF SERVICE

 2          I am an employee of Christensen James & Martin and caused a true and correct copy of the

 3   foregoing document to be served in the following manner on the date it was filed with the Court’s

 4   ECF System.

 5   ✓      ELECTRONIC SERVICE: Through the Court’s E-Filing System to the following:

 6   __     VIA UNITED STATES MAIL:

 7
            Michael J. Mcavoyamaya, Esq.        Email copy to:mcavoyamayalaw@gmail.com
 8
            4539 Paseo Del Ray
 9          Las Vegas, NV 89121

10         Jonathan Cohen, Esq.                 Email copy to: jcohen@rsglabor.com
11         Eli Naduris-Weissman, Esq.           Email copy to: enaduris-weissman@rsglabor.com
           Carlos Coye, Esq.                    Email copy to: ccoye@rsglabor.com
12         Rothner, Segall & Greenstone
           510 South Marengo Avenue
13
           Pasadena, California 91101-3115
14

15

16                                              CHRISTENSEN JAMES & MARTIN

17                                              By:      /s/ Evan L. James
                                                      Evan L. James
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                                                                                                Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 5 of 14



                                                                                      1   CHRISTENSEN JAMES & MARTIN
                                                                                          EVAN L. JAMES, ESQ. (7760)
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                                                                                          Las Vegas, Nevada 89117
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                                                                                      5   Email: elj@cjmlv.com, dem@cjmlv.com
                                                                                      6   Attorneys for Defendants Nevada Service Employees
                                                                                          Union, Luisa Blue, and Martin Manteca
                                                                                      7
                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                      8
                                                                                                                                DISTRICT OF NEVADA
                                                                                      9
                                                                                          JAVIER CABRERA, an individual; DEBORAH               Case No.: 2:18-cv-00304-RFB-DJA
                                    7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                                     10   MILLER, an individual, CHERIE MANCINI,
CHRISTENSEN JAMES & MARTIN, CHTD.




                                                                                          an individual; NEVADA SERVICE
                                         PH: (702) 255-1718 § FAX: (702) 255-0871




                                                                                     11
                                                                                          EMPLOYEES UNION STAFF UNION
                                                                                          (“NSEUSU”), an unincorporated association,           DECLARATION OF GRACE VERGARA-
                                                                                     12
                                                                                                                                               MACTAL
                                                                                     13                           Plaintiffs,
                                                                                     14   vs.

                                                                                     15   SERVICE EMPLOYEES INTERNATIONAL
                                                                                          UNION, a nonprofit cooperative corporation;
                                                                                     16
                                                                                          LUISA BLUE, in her official capacity as Trustee
                                                                                     17   of Local 1107; MARTIN MANTECA, in his
                                                                                          official capacity as Deputy Trustee of Local
                                                                                     18   1107; MARY K. HENRY, in her official
                                                                                     19   capacity as Union President; CLARK COUNTY
                                                                                          PUBLIC EMPLOYEES ASSOCIATION dba
                                                                                     20   NEVADA SERVICE EMPLOYEES UNION
                                                                                          aka SEIU LOCAL 1107, a nonprofit cooperative
                                                                                     21
                                                                                          corporation; CAROL NIETERS, an individual;
                                                                                     22   DOES 1-20; and ROE CORPORATIONS 1-20,
                                                                                          inclusive,
                                                                                     23

                                                                                     24                           Defendants.

                                                                                     25          I, Grace Vergara-Mactal, hereby declare as follows:

                                                                                     26   1.      I have personal knowledge of the information set forth herein.
                                                                                     27   2.      I am under no adverse influence that would affect my testimony in this Declaration.
Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 6 of 14
Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 7 of 14




                          EXHIBIT

                                A            NLRB EMAIL
3/11/2021                                     Case 2:18-cv-00304-RFB-DJA Document
                                                                           Mail - Evan 222     Filed 03/11/21 Page 8 of 14
                                                                                       James - Outlook

            To: Evan James <elj@cjmlv.com>
            Subject: Javier Cabrera - Case 28-CA-209109




            ---------- Forwarded message ---------




            From: Moore, Tamilyn A. <Tamilyn.Moore@nlrb.gov>
            Sent: Tuesday, March 2, 2021 8:13 AM
            To: Michael Urban <MUrban@theurbanlawﬁrm.com>
            Subject: Case 28-CA-209109

            Mr. Urban,

            I have completed the calcula ons of Mr. Cabrera’s backpay with interest and excess tax based on a March 15, 2021 payoﬀ date. The ﬁrst a ached
            document shows quarterly totals for Mr. Cabrera’s backpay, interim expenses, and medical expenses on page 1 and pension payments on page 2.
            The second document shows the annual taxable income for Mr. Cabrera and the total excess tax he is owed based on the annual taxable income.

            To summarize, Mr. Cabrera’s Net Backpay is $77,233. His interim expenses and medical expenses are $2,466. The interest on those amounts with a
            March 15, 2021 payoﬀ date is $10,451. The excess taxes with a March 15, 2021 payoﬀ date, owed to Mr. Cabrera for his backpay, expenses, and
            interest is $2,016. Mr. Cabrera is owed $28,935 in pension payments and $3,321 interest on that amount. Mr. Cabrera has asked that the pension
            payment be made to him, not the Union fund. If Respondent agrees to these amounts, it should make out at least three checks to Mr. Cabrera.
            One check for his Net Backpay, one check for his Pension Payments, and one check for expenses, interest, and excess tax. Deduc ons at the rate
            for Mr. Cabrera during his employment should be taken from the Net Backpay and Pension Payments. No deduc ons should be taken from the
            expenses, interest, and excess tax.

https://outlook.office.com/mail/deeplink?popoutv2=1&version=20210301002.05                                                                                   5/7
3/11/2021                                     Case 2:18-cv-00304-RFB-DJA Document
                                                                           Mail - Evan 222     Filed 03/11/21 Page 9 of 14
                                                                                       James - Outlook


            Please let me know if you have any ques ons about the amounts in these calcula ons and whether Respondent agrees with these calcula ons.
            Please let me know by close of business March 5, 2021 whether Respondent agrees to pay these amounts to Mr. Cabrera. I am going to provide
            these numbers to Mr. Cabrera today as well to determine if he is in agreement with our calcula ons or if he plans to request a compliance
            determina on. Please do not issue any checks before I let you know whether Mr. Cabrera plans to ﬁle a request for a compliance determina on.

            Thank you,


            Tamilyn
            Tamilyn A. Moore
            Compliance Officer
            Centralized Compliance Unit
            Office: 513-684-3669
            Mobile:
            Fax: 513-684-3946
            Website: www.nlrb.gov

            ***Electronic filing of charges, petitions, position statements and documentary evidence through the Agency website is required. Use this link to e-file
            new Charges and Petitions. Use this link to e-file Case Documents. See this link for information on the NLRB Mandatory E-Filing Policy.

            E-ﬁling User Guide: h ps://apps.nlrb.gov/myAccount/assets/E-Filing-System-User-Guide.pdf.
            Website help: e-ﬁling@nlrb.gov.




            --
            In Unity,

            Grace T. Vergara-Mactal
            Executive Director
            SEIU Nevada Local 1107
            Cell:

            "Integrity is doing the right thing, even when no one is watching."
            --- CS Lewis



https://outlook.office.com/mail/deeplink?popoutv2=1&version=20210301002.05                                                                                             6/7
Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 10 of 14




                           EXHIBIT

                                B            NLRB BACK PAY
                                             CALCULATIONS
          Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 11 of 14

                                          NLRB Backpay Calculation                                                     1




      Case Name:      Service Employees International Union Local 1107
  Case Number:        28-CA-209109                        Backpay period:

         Claimant:    Javier Cabrera                      10/31/2017-10/21/2019            Interest      3/15/2021
                                                                                        calculated to:
                                        Quarter
                        Gross                                           Interim          Medical         Net Backpay &
Year    Qtr                             Interim       Net Backpay
                       Backpay                                         Expenses         Expenses           Expenses
                                       Earnings
 2017    4    Total      11,393                               11,393         296               -                   11,690

 2018    1    Total      20,641                               20,641         562               -                   21,203

 2018    2    Total      16,978           8,210                8,768         454               -                    9,222

 2018    3    Total      20,641           6,842               13,799         359                   20              14,179

 2018    4    Total      16,978           9,800                7,178         298                   26               7,502

 2019    1    Total      21,056          15,898                5,158         148               -                    5,305

 2019    2    Total      17,090          15,622                1,469         109               -                    1,578

 2019    3    Total      19,095          14,398                4,697         138               -                    4,834

 2019    4    Total       4,130                                4,130          56               -                    4,186


                                       Totals             77,233          2,420                46              79,698



                                                                Net Backpay (Withholdings)                     77,233

                                                                Expenses (No Withholdings)                         2,465

                                          Daily Compound Interest (No Withholdings)                            10,451


                                                  Total Backpay, Expenses and Interest                         90,149
Notes
 1/     Gross backpay accounts for wages, auto allowance of $500 per month, bilingual pay of $75 per pay period.
 2/     Interim earnings with UFCW account for wages and auto allowance of $500 per month. Auto allowance ends mid Ju
 3/     For explanation of Interim and Medical Expenses see            https://nxgendocs.nlrb.gov:8443/nlrb/do/OpenDocume
 4/
 5/
 6/
 7/
 8/
         Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 12 of 14

                                            NLRB Backpay Calculation                                                          2




      Case Name:        Service Employees International Union Local 1107
  Case Number:          28-CA-209109                        Backpay period:

         Claimant:      Javier Cabrera                     10/31/2017-10/21/2019              Interest       3/15/2021
                                                                                           calculated to:
                                          Quarter
                         Pension                                        Interim             Medical           Net Backpay &
Year    Qtr                               Interim       Net Backpay
                        Payments                                       Expenses            Expenses             Expenses
                                         Earnings
 2017    4      Total       2,079                             2,079               -                   -                 2,079

 2018    1      Total       3,915                             3,915               -                   -                 3,915

 2018    2      Total       3,355                 -           3,355               -                   -                 3,355

 2018    3      Total       3,915                 -           3,915               -                   -                 3,915

 2018    4      Total       3,355                 -           3,355               -                   -                 3,355

 2019    1      Total       4,002                 -           4,002               -                   -                 4,002

 2019    2      Total       3,437                 -           3,437               -                   -                 3,437

 2019    3      Total       4,010                 -           4,010               -                   -                 4,010

 2019    4      Total         867                               867               -                   -                   867


                                         Totals            28,935             -                   -                  28,935



                                                                Net Backpay (Withholdings)                           28,935

                                                               Expenses (No Withholdings)                                 -

                                            Daily Compound Interest (No Withholdings)                                  3,321


                                                      Total Backpay, Expenses and Interest                           32,256
Notes
 1/     Note:    2.5% increase effective, 01/01/19.
 2/              Returning to work on 10/21/19.
 3/              Pension contribution rate: 2017 - 20%, 2018 and 2019 - 21%
 4/
 5/
 6/
 7/
 8/




                                                            File: Copy of BackpayTEC_11_6- Javier Cabrera / Sheet: Benefit calc
Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 13 of 14




                           EXHIBIT

                                C         NLRB ADJUSTED TAXES
     Case 2:18-cv-00304-RFB-DJA Document 222 Filed 03/11/21 Page 14 of 14


                              Adjusted Taxes for Lump Sum Backpay
               Case Name:      Service Employees International Union Local 1107
              Case Number:     28-CA-209109
                  Claimant:    Javier Cabrera
                 Taxable
 Year            Income                  Filing Status                  State       Federal Tax    State Tax
                (Backpay)
 2017               11,393      Married Filing Jointly/Widower           NV               1,139           0
 2018               50,386      Married Filing Jointly/Widower           NV               5,665           0
 2019               15,453      Married Filing Jointly/Widower           NV               1,545           0
                                                                   Taxes Paid:            8,350           0
2000 to           (Sum)
 2020               77,232      Married Filing Jointly/Widower           NV               8,873           0

 2021                    0
                                                      Excess Tax on Backpay:               520            0
                                                  Incremental Tax on Backpay:                       71
                                                Total Excess Tax on Backpay:                       591
Interest on
  Backpay:          10,451                                       Tax on Interest:         1,254           0
                                                   Incremental Tax on Interest:                     171
                                                Total Excess Tax on Interest:                     1,425

                                                      Additional Tax Liability:                      0

                                                   Total Excess Tax Liability:                    2,016
